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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

      NAVY SEAL 1, et al., for themselves       )
      and all others similarly situated,        )
                                                )
                          Plaintiffs,           )
      v.                                        ) No. 8:21-cv-2429-SDM-TGW
                                                )
      LLOYD AUSTIN, in his official             )
      capacity as Secretary of the United       )
      States Department of Defense, et al.,     )
                                                )
                          Defendants.           )

                 PLAINTIFFS’ VERIFIED EMERGENCY MOTION
               FOR TEMPORARY RESTRAINING ORDER PENDING
             DECISION ON MOTION FOR PRELIMINARY INJUNCTION

           Plaintiffs, pursuant to Fed. R. Civ. P. 65(b)(1) and the Court’s Order of October

  18, 2021 (Doc. 9), move the Court for an emergency temporary restraining order

  (TRO) to preserve the status quo ante for 22 United States Armed Forces service

  members, comprising 1 named Plaintiff and 21 putative class members (collectively,

  the “22 Service Members”), pending the Court’s decision on Plaintiffs Motion for

  Preliminary Injunction (Doc. 2).1 In support thereof, Plaintiffs show unto the Court as

  follows:




  1
        Plaintiffs previously filed three emergency TRO motions for different service
  members (Docs. 60, 121, 130), one of which (Doc. 60) resulted in a TRO (Doc. 67)
  and preliminary injunction (Doc. 111), while the other two remain pending (Docs.
  121, 130).
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                                    INTRODUCTION

        In its first Order in this case, the Court invited Plaintiffs to “move on behalf of

  any individual member of the alleged class” who “imminently will suffer serious and

  irreparable injury before a preliminary injunction, if any, issues[]; whose interests are

  otherwise not adequately protected by the hearing on November 15, 2021; and whose

  circumstances are for some singular reason markedly more acute than other members

  of the putative class.” (Doc. 9 at 4.) As demonstrated below and in the attached

  exhibits, the 22 Service Members face immediate and irreparable harm to their free

  exercise rights and military careers absent immediate injunctive relief from this Court.

  Emergency, interim injunctive relief is necessary pending determination of Plaintiffs’

  preliminary injunction motion. Plaintiffs did not seek or invite returning to this Court

  for emergency relief, but Defendants have nevertheless placed the 22 Service Members

  in need of immediate and emergency relief. Each of the 22 Service Members has

  received his or her final religious accommodation (RA) appeal denial and order to

  be vaccinated against conscience or face immediate consequences. Immediate relief

  is necessary because those consequences begin as early as today, March 23, 2022.

        Following is a table identifying, for each of the 22 Service Members, the service

  member’s name (in pseudonym), individual circumstances justifying immediate relief,

  and corresponding attached exhibit comprising the service member’s RA appeal denial

  packet:




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   Ex. Name and Circumstances

    A LANCE CORPORAL ADMINISTRATIVE SPECIALIST,
      United States Marine Corps, received the final denial of her RA appeal on
      December 27, 2021, and was ordered to be COVID-19 vaccinated. She has
      been informed that she will be separated by March 24, 2022 for failure to
      receive COVID-19 vaccination against her religious beliefs.

    B CAPTAIN,
      United States Marine Corps, has been ordered to receive the COVID-19
      vaccine by March 23, 2022 or face immediate disciplinary proceedings to
      include punitive and/or administrative action. CAPTAIN will be placed on
      the Officer Disciplinary Notebook (ODN) as of March 23, 2022.

    C STAFF SERGEANT,
      United States Marine Corps, has been given an order to receive the COVID-
      19 vaccine by March 25, 2022 or face immediate disciplinary proceedings to
      include punitive and/or administrative action, including action for violation
      of Article 92 of the UCMJ.

    D Plaintiff COLONEL FINANCIAL MANAGEMENT OFFICER,
      United States Marine Corps, has been informed that he will receive his
      administrative separation orders on Friday, March 25, 2022.

    E CAPTAIN,
      United States Air Force, received a final denial of his religious
      accommodation request and appeal on February 20, 2022, and was given a
      five-day order to receive the COVID-19 vaccine or face immediate discipline,
      which can now occur at any time.

     F MAJOR 1,
       United States Air Force, has been informed that his failure to accept or
       receive the COVID-19 vaccine is a violation of a lawful order and that any
       day he could receive immediate discipline, including UCMJ and/or adverse
       administrative action up to and including separation from the Air Force
       Reserve. MAJOR 1 has been informed that his Letter of Reprimand (LOR) is
       forthcoming, and that he will be immediately placed on IRR as soon as it is
       received, which will begin the separation process for him.




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   Ex. Name and Circumstances

    G MAJOR 2,
      United States Air Force, received a final denial of his religious
      accommodation request and appeal on February 12, 2022, and was given a
      five-day order to receive the COVID-19 vaccine or face immediate discipline,
      which can now occur at any time.

    H STAFF SERGEANT,
      United States Air Force, received the final denial of her religious
      accommodation appeal on March 3, 2022, and on March 14 was provided a
      written order to receive the vaccine by March 19, 2022. STAFF SERGEANT
      was informed that failure to comply by the deadline will be considered
      violation of a lawful order and will result in “administrative and/or punitive
      action for Failing to Obey and Order under Article 92 of the Uniform Code
      of Military Justice.”

     I TECH SERGEANT,
       United States Air Force, received the final denial of her religious
       accommodation appeal on February 10, 2022, and was ordered to receive the
       COVID-19 vaccine by February 22, 2022. TECH SERGEANT did not
       receive the COVID-19 vaccine on February 22, and on March 2, 2022 was
       issued a written Letter of Reprimand for refusal to obey an order, a copy of
       which was placed in her Unfavorable Information File. TECH SERGEANT
       is subject to imminent disciplinary action for her alleged failure to follow a
       direct order.

     J LIEUTENANT COLONEL 1,
       United States Air Force Reserve, received the Air Force’s final denial of his
       religious accommodation appeal on February 28, 2022 and was ordered to
       receive the COVID-19 vaccine within five days. LIEUTENANT COLONEL
       1 is subject to imminent discipline and separation proceedings for an alleged
       failure to follow a lawful order.

    K LIEUTENANT COLONEL 2,
      United States Air Force Reserve, received the Air Force’s final denial of his
      religious accommodation appeal on February 25, 2022 and was ordered to
      receive the COVID-19 vaccine within five days. LIEUTENANT COLONEL
      2 is subject to imminent discipline and separation proceedings for an alleged
      failure to follow a lawful order.




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   Ex. Name and Circumstances

    L MAJOR,
      United States Air Force Reserve, received the Air Force’s final denial of his
      religious accommodation appeal on February 25, 2022, and on March 12 was
      ordered to receive the COVID-19 vaccine within five days. MAJOR was
      informed that failure to comply with the order would result in
      “administrative and/or punitive action for Failing to Obey and Order under
      Article 92, Uniform Code of Military Justice and transfer to the IRR.”
      MAJOR is subject to imminent discipline and separation proceedings for an
      alleged failure to follow a lawful order.

    M STAFF SERGEANT,
      United States Air Force Reserve, received the Air Force’s final denial of his
      religious accommodation appeal on March 3, 2022, and on March 10 was
      ordered to accept or receive the COVID-19 vaccine within five days. STAFF
      SERGEANT was informed that failure to comply with the order would result
      in “administrative and/or punitive action for Failing to Obey and Order
      under Article 92, Uniform Code of Military Justice and transfer to the IRR.”
      STAFF SERGEANT is subject to imminent discipline and separation
      proceedings for an alleged failure to follow a lawful order.

    N LIEUTENANT,
      United States Navy, received a final denial of his religious accommodation
      request on March 14, 2022, and was provided an Administrative Remarks
      form containing a “COVID-19 Vaccination Refusal Counseling/Warning”
      stating “you are considered a COVID-19 persistent vaccine refuser and have
      disobeyed a lawful order.” LIEUTENANT faces imminent discipline and
      separation from the United States Navy.

    O LIEUTENANT COMMANDER 1,
      United States Navy, has received a final denial of his religious
      accommodation appeal and has been informed that failure to accept or
      receive a COVID-19 vaccine will result in immediate discipline and
      separation from the United States Navy. LIEUTENANT COMMANDER 1
      has been informed that he may accept the COVID-19 vaccine or submit a
      request to retire or resign effective May 31, 2022. Failure to accept the
      vaccine or submit for retirement will result in a letter of misconduct that
      initiates the separation process and makes him ineligible for retirement
      benefits.




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   Ex. Name and Circumstances

     P LIEUTENANT COMMANDER 2,
       United States Navy, has been brought before his command for a Fitness
       Report and Counseling Record, in which he was determined to be unfit and
       not deployable solely for seeking a religious accommodation from the
       COVID-19 vaccine requirement, and he anticipates the imminent
       commencement of administrative separation proceedings.

    Q HOSPITAL CORPSMAN FIRST CLASS,
      United States Navy, received a final denial of his religious accommodation
      appeal and an order to receive the COVID-19 vaccine or face imminent
      disciplinary proceedings and separation.

    R LIEUTENANT COLONEL,
      United States Space Force, received a final denial of his religious
      accommodation appeal on March 11, 2022, and was ordered to receive a
      COVID-19 vaccine by March 17, 2022. He was advised that his failure to
      receive the vaccine “may result in administrative and/or punitive action for
      Failing to Obey an Order under Article 92, Uniform Code of Military
      Justice,” which action may now occur at any time.

     S LIEUTENANT COMMANDER,
       United States Navy Reserve, received the final denial of his religious
       accommodation appeal on March 14, 2022 and was ordered to receive the
       COVID-19 vaccine within five days. LIEUTENANT COMMANDER faces
       imminent discipline and separation for his failure to receive the vaccine.

    T LIEUTENANT COLONEL,
      United States Air Force, received the final denial of his religious
      accommodation appeal on March 14, 2022 and was ordered to receive the
      COVID-19 vaccine within five calendar days. LIEUTENANT COLONEL
      has been informed that “[f]ailure to comply with this lawful order may result
      in administrative and/or punitive action for Failing to Obey an Order under
      Article 92, Uniform Code of Military Justice.” LIEUTENANT COLONEL
      faces imminent disciplinary and separation proceedings that can be initiated
      at any time.




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   Ex. Name and Circumstances

    U ROTC MIDSHIPMAN,
      United States Navy, received a final denial of his religious accommodation
      appeal on March 8, 2022 and was given five days to receive a COVID-19
      vaccine. On March 16, 2022 he was informed that he had been placed on
      interim leave of absence and that a performance review board will be
      scheduled. His tuition payments have been suspended, and he has been
      informed that his imminent performance review board may result in
      disenrollment.

    V MSGT OSI AGENT,
      United States Air Force, received a final denial of his religious
      accommodation appeal on January 21, 2022. His commander gave him a
      direct order to get COVID-19 vaccinated on February 3, 2022, and then
      again on February 17, 2022, both of which resulted in a Letter of Reprimand
      (LOR) because he did not get vaccinated. On March 1, 2022, his commander
      recommended him for demotion for failing to comply with the commander’s
      vaccination orders, and threatened him with still “further administrative
      and/or Uniform Code of Military Justice actions” for continuing to
      conscientiously object to vaccination, which threat the commander repeated
      on March 7, 2022 (“I respect how you are comporting yourself, and I have no
      doubt it will continue, but you must follow the orders you have been given or
      you can face further administrative or UCMJ action.”). The Air Force
      demotion authority determined that demotion was appropriate on March 21,
      2022. MSGT OSI AGENT’s appeal of the demotion is pending. MSGT OSI
      AGENT is just 8 months short of 20 years of faithful and highly decorated
      active duty service, and the punitive demotion and imminent further
      punishment threatened by his commander both jeopardize his current
      approved retirement date of November 30, 2022 (with terminal leave to begin
      on or about July 15, 2022) by potentially depriving him of retirement through
      punitive separation or further depriving him of rank at the time of retirement.



                                     ARGUMENT

        In addition to the argument below, Plaintiffs incorporate by reference the legal

  argument contained in their Motion for Preliminary Injunction (Doc. 2), Reply in

  Support (Doc. 30), Supplemental Memorandum and Renewed Motion for Preliminary



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  Injunction (Doc. 51), and Second Supplemental Memorandum in Support of Motion

  for Preliminary Injunction (Doc. 104), and rely on the supplemental declarations and

  notices of supplemental authority filed in support of classwide preliminary injunctive

  relief (Docs. 82, 95, 100, 113). As set forth therein, Defendants’ refusal to consider or

  grant Plaintiffs’ requests for religious exemption and accommodation while granting

  thousands of similarly situated nonreligious exemptions violates the First Amendment

  and the Religious Freedom Restoration Act.

        A TRO IS NEEDED TO PRESERVE THE STATUS QUO AND PREVENT
        IRREPARABLE INJURY PENDING THE COURT’S DECISION ON
        PLAINTIFFS’ PRELIMINARY INJUNCTION MOTION.

        “A Rule 65 TRO often functions to preserve the status quo until a court can

  enter a decision on a preliminary injunction application.” United States v. DBB, Inc.,

  1282 n.5 (1999); see also Grasso v. Dudek, No. 6:130cv01536-Orl-28GK, 2014 WL

  12621193, at *2 (M.D. Fla. Jan. 6, 2014) (“In the Eleventh Circuit, TRO’s are intended

  to protect against irreparable harm and to preserve the status quo until a decision on

  the merits can be made.”); Talib v. SkyWay Comms. Holding Corp., No. 8:05-cv-282-T-

  17TBM, 2005 WL 8160176, at *5 (M.D. Fla. Apr. 5, 2005) (same). (See also Doc. 67

  at 8 (granting TRO for the “preservation of the status quo” while a decision on the

  preliminary injunction is pending).) Here, a TRO pending preliminary injunction is

  necessary to preserve the status quo and prevent immediate and irreparable harm that

  will occur for the 22 Service Members beginning on March 23, 2022, and continuing

  on March 24, March 25, and thereafter.




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         A.     The 22 Service Members Face Immediate and Irreparable Deprivation
                of Free Exercise Rights in the Form of Involuntary Separation and
                Irreparable Career Damage.

         The 22 Service Members will suffer immediate and irreparable injury absent a

  TRO pending decision on Plaintiffs’ preliminary injunction motion, or individualized

  preliminary injunctive relief, because they will suffer the irretrievable sacrifice of

  cherished rights to free exercise under the First Amendment and RFRA. See Roman

  Catholic Diocese of Brooklyn v. Cuomo, 141 S. Ct. 63, 67 (2020) (“There can be no

  question that the challenged restrictions, if enforced, will cause irreparable harm. ‘The

  loss of First Amendment freedoms, for even minimal periods of time, unquestionably

  constitutes irreparable injury.’” (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).

  Indeed, as this Court already held, “[t]he pertinent precedents (and a fair empathy for

  the conscience of the sincere religious objector) suggest that in a Free Exercise Clause

  claim the initial episode of denial of free exercise causes irreparable harm . . . .” (Order,

  Doc. 40, at 30.) Indeed, as the Court held, “[r]equiring a service member either to

  follow a direct order contrary to a sincerely held religious belief or to face immediate

  processing for separation or other punishment undoubtedly causes irreparable harm.”

  (Order, Doc. 111, at 45.)

         The 22 Service Members all submitted RA requests based on their sincerely held

  religious objections to COVID-19 vaccination. (See Exs. A–V.) Their respective

  military branches denied their RAs and RA appeals, and issued orders to be vaccinated

  or face imminent discipline, administrative and punitive action, separation, and

  proceedings under Article 92 of the Uniform Code of Military Justice. But not one of


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  the 22 Service Members received an individualized determination of his or her RA

  request or appeal, all of them receiving instead generalized, boilerplate, form-letter

  denials that have become familiar to this Court, “predicat[ing] [the 22 Service

  Members’] denial[s] on a broadly articulated interest in ‘the health and safety of the

  force’ and on the assertion that broadly articulated ‘demands of military life’ render

  ineffective any less restrictive means.” (Doc. 111 at 38.) As the Court observed,

  “RFRA demands more.” (Id.)

         B.     Only a TRO Pending Decision on Plaintiffs’ Motion for Preliminary
                Injunction Can Preserve the Status Quo.

         In entering a TRO, “the court’s task . . . is generally to restore, and preserve,

  the status quo ante, i.e., the situation that existed between the parties immediately prior

  to the events that precipitated the dispute.” FHR TB, LLC v. TB Isle Resort, LP, 865 F.

  Supp. 2d 1172, 1193 (S.D. Fla. 2011) (cleaned up). Indeed, where—as here—“an

  irremediably deteriorating condition threatens to thwart the Court’s ability to render a

  proper final judgment on the merits later, the Court must act to preserve or restore the

  vanishing status quo ante.” Schrank v. Bliss, 412 F. Supp. 28, 34 (M.D. Fla. 1976).

         Only an immediate TRO pending decision on Plaintiffs’ preliminary injunction

  motion (Doc. 2) can preserve the status quo ante. Absent immediate injunctive relief,

  the 22 Service Members will suffer irreparable deprivation of their free exercise rights

  and irreparable damage to their military careers. Indeed, the 22 Service Members “face

  either (1) a most-likely-unlawful deprivation of their accumulated status and standing

  in the United States military, as well as prospective advancement and benefits, or (2)



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  deprivation of their constitutional and statutory rights to Free Exercise and the

  statutory right to receive a religious ex-emption.” (Order, Doc. 67, at 9.) And, for

  Service    Members       USMC       CAPTAIN         and     LANCE       CORPORAL

  ADMINISTRATIVE SPECIALIST, that irreparable harm begins today, March 23,

  and tomorrow, March 24. Despite their best efforts to obtain temporary relief outside

  of seeking additional intervention from this Court, the 22 Service Members need

  immediate relief from this Court to prevent irreparable harm.

        THE COURT SHOULD ISSUE THE TRO WITHOUT WAITING FOR A
        REPONSE FROM DEFENDANTS.

        Pursuant to Rule 65(b)(1), the Court may issue the TRO if specific sworn facts

  “clearly show that immediate and irreparable injury, loss, or damage will result to the

  movant before the adverse party can be heard in opposition,” and “the movant's

  attorney certifies in writing any efforts made to give notice and the reasons why it

  should not be required.” Fed. R. Civ. P. 65(b)(1). This motion satisfies the

  requirements for issuance of a TRO without waiting for a response from Defendants.

        On March 23, 2022, and in accordance with the Court’s October 18, 2021 Order

  (Doc. 9), the undersigned Plaintiffs’ counsel conferred by e-mail with counsel for

  Defendants, seeking Defendants’ agreement to pause the imminent adverse action

  against the 22 Service Members, pending the Court’s decision on Plaintiffs’

  preliminary injunction motion. Plaintiffs’ counsel provided to Defendants’ counsel the

  identities of the 22 Service Members and unredacted copies of their respective RA

  appeal denial packets, subject to the Court’s protective orders (Docs. 59-1, 77, 110).



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  Defendants’ counsel acknowledged receipt of the request and indicated that

  Defendants may need more time given the number of service members involved. As

  of the filing of this motion, Defendants had not provided their position on the request.

  Given the imminent and irreparable adverse action shown above, the Court should

  not request or wait for any further response from Defendants before entering the

  requested TRO.

             CONCLUSION AND RULE 65(b)(1)(B) CERTIFICATION

         By signing below, and in accordance with the Court’s October 18, 2021 Order

  (Doc. 9) and Rule 65(b)(1)(B), the undersigned Plaintiffs’ counsel certifies the

  foregoing efforts made to confer with Defendants’ counsel regarding the relief

  requested herein, and the foregoing reasons why the Court should issue the TRO

  immediately without waiting for any response from Defendants prior to issuing the

  TRO.

                                               /s/ Roger K. Gannam
                                               Mathew D. Staver
                                               Horatio G. Mihet
                                               Roger K. Gannam
                                               Daniel J. Schmid*
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                                               *Admitted specially
                                               Attorneys for Plaintiffs


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                                     VERIFICATION

        I, LANCE CORPORAL ADMINISTRATIVE SPECIALIST, United States

  Marine Corps, am over the age of eighteen years. The statements that pertain to me in

  the foregoing VERIFIED EMERGENCY MOTION FOR TEMPORARY

  RESTRAINING          ORDER       PENDING         DECISION       ON     MOTION        FOR

  PRELIMINARY INJUNCTION are true and correct, and the documents attached as

  Exhibit A are authentic. If called upon to testify to their truthfulness or authenticity, I

  would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ LANCE CORPORAL ADMINISTRATIVE SPECIALIST
                      LANCE CORPORAL ADMINISTRATIVE SPECIALIST
                      (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, CAPTAIN, United States Marine Corps, am over the age of eighteen years.

  The statements that pertain to me in the foregoing VERIFIED EMERGENCY

  MOTION FOR TEMPORARY RESTRAINING ORDER PENDING DECISION

  ON MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit B are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ CAPTAIN
                     CAPTAIN
                     (Original Signature retained by Counsel)




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                                    VERIFICATION

        I, STAFF SERGEANT, United States Marine Corps, am over the age of

  eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY          MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit C are authentic. If called upon

  to testify to their truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ STAFF SERGEANT
                      STAFF SERGEANT
                      (Original Signature retained by Counsel)




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                                     VERIFICATION

        I, COLONEL FINANCIAL MANAGEMENT OFFICER, United States

  Marine Corps, am over the age of eighteen years. The statements that pertain to me in

  the foregoing VERIFIED EMERGENCY MOTION FOR TEMPORARY

  RESTRAINING          ORDER       PENDING         DECISION       ON     MOTION        FOR

  PRELIMINARY INJUNCTION are true and correct, and the documents attached as

  Exhibit D are authentic. If called upon to testify to their truthfulness or authenticity, I

  would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ COLONEL FINANCIAL MANAGEMENT OFFICER
                      COLONEL FINANCIAL MANAGEMENT OFFICER
                      (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, CAPTAIN, United States Air Force, am over the age of eighteen years. The

  statements that pertain to me in the foregoing VERIFIED EMERGENCY MOTION

  FOR TEMPORARY RESTRAINING ORDER PENDING DECISION ON

  MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit E are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ CAPTAIN
                     CAPTAIN
                     (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, MAJOR 1, United States Air Force, am over the age of eighteen years. The

  statements that pertain to me in the foregoing VERIFIED EMERGENCY MOTION

  FOR TEMPORARY RESTRAINING ORDER PENDING DECISION ON

  MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit F are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ MAJOR 1
                     MAJOR 1
                     (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, MAJOR 2, United States Air Force, am over the age of eighteen years. The

  statements that pertain to me in the foregoing VERIFIED EMERGENCY MOTION

  FOR TEMPORARY RESTRAINING ORDER PENDING DECISION ON

  MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit G are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ MAJOR 2
                     MAJOR 2
                     (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, STAFF SERGEANT, United States Air Force, am over the age of eighteen

  years. The statements that pertain to me in the foregoing VERIFIED EMERGENCY

  MOTION FOR TEMPORARY RESTRAINING ORDER PENDING DECISION

  ON MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit H are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ STAFF SERGEANT
                     STAFF SERGEANT
                     (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, TECH SERGEANT, United States Air Force, am over the age of eighteen

  years. The statements that pertain to me in the foregoing VERIFIED EMERGENCY

  MOTION FOR TEMPORARY RESTRAINING ORDER PENDING DECISION

  ON MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit I are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ TECH SERGEANT
                     TECH SERGEANT
                     (Original Signature retained by Counsel)




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                                    VERIFICATION

        I, LIEUTENANT COLONEL 1, United States Air Force Reserve, am over the

  age of eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY          MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit J are authentic. If called upon

  to testify to their truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ LIEUTENANT COLONEL 1
                      LIEUTENANT COLONEL 1
                      (Original Signature retained by Counsel)




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                                    VERIFICATION

        I, LIEUTENANT COLONEL 2, United States Air Force Reserve, am over the

  age of eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY          MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit K are authentic. If called upon

  to testify to their truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ LIEUTENANT COLONEL 2
                      LIEUTENANT COLONEL 2
                      (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, MAJOR, United States Air Force Reserve, am over the age of eighteen years.

  The statements that pertain to me in the foregoing VERIFIED EMERGENCY

  MOTION FOR TEMPORARY RESTRAINING ORDER PENDING DECISION

  ON MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit L are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ MAJOR
                     MAJOR
                     (Original Signature retained by Counsel)




                                           24
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                                   VERIFICATION

        I, STAFF SERGEANT, United States Air Force Reserve, am over the age of

  eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY         MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit M are authentic. If called

  upon to testify to their truthfulness or authenticity, I would and could do so

  competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ STAFF SERGEANT
                     STAFF SERGEANT
                     (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, LIEUTENANT, United States Navy, am over the age of eighteen years. The

  statements that pertain to me in the foregoing VERIFIED EMERGENCY MOTION

  FOR TEMPORARY RESTRAINING ORDER PENDING DECISION ON

  MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit N are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ LIEUTENANT
                     LIEUTENANT
                     (Original Signature retained by Counsel)




                                           26
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                                    VERIFICATION

        I, LIEUTENANT COMMANDER 1, United States Navy, am over the age of

  eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY          MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit O are authentic. If called upon

  to testify to their truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ LIEUTENANT COMMANDER 1
                      LIEUTENANT COMMANDER 1
                      (Original Signature retained by Counsel)




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                                    VERIFICATION

        I, LIEUTENANT COMMANDER 2, United States Navy, am over the age of

  eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY          MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit P are authentic. If called upon

  to testify to their truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ LIEUTENANT COMMANDER 2
                      LIEUTENANT COMMANDER 2
                      (Original Signature retained by Counsel)




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                                    VERIFICATION

        I, HOSPITAL CORPSMAN FIRST CLASS, United States Navy, am over the

  age of eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY          MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit Q are authentic. If called upon

  to testify to their truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ HOSPITAL CORPSMAN FIRST CLASS
                      HOSPITAL CORPSMAN FIRST CLASS
                      (Original Signature retained by Counsel)




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                                    VERIFICATION

        I, LIEUTENANT COLONEL, United States Space Force, am over the age of

  eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY          MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit R are authentic. If called upon

  to testify to their truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ LIEUTENANT COLONEL
                      LIEUTENANT COLONEL
                      (Original Signature retained by Counsel)




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                                    VERIFICATION

        I, LIEUTENANT COMMANDER, United States Navy Reserve, am over the

  age of eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY          MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit S are authentic. If called upon

  to testify to their truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ LIEUTENANT COMMANDER
                      LIEUTENANT COMMANDER
                      (Original Signature retained by Counsel)




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                                    VERIFICATION

        I, LIEUTENANT COLONEL, United States Air Force, am over the age of

  eighteen years. The statements that pertain to me in the foregoing VERIFIED

  EMERGENCY          MOTION       FOR     TEMPORARY         RESTRAINING          ORDER

  PENDING DECISION ON MOTION FOR PRELIMINARY INJUNCTION are

  true and correct, and the documents attached as Exhibit T are authentic. If called upon

  to testify to their truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                      /s/ LIEUTENANT COLONEL
                      LIEUTENANT COLONEL
                      (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, ROTC MIDSHIPMAN, United States Navy, am over the age of eighteen

  years. The statements that pertain to me in the foregoing VERIFIED EMERGENCY

  MOTION FOR TEMPORARY RESTRAINING ORDER PENDING DECISION

  ON MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit U are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ ROTC MIDSHIPMAN
                     ROTC MIDSHIPMAN
                     (Original Signature retained by Counsel)




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                                   VERIFICATION

        I, MSGT OSI AGENT, United States Air Force, am over the age of eighteen

  years. The statements that pertain to me in the foregoing VERIFIED EMERGENCY

  MOTION FOR TEMPORARY RESTRAINING ORDER PENDING DECISION

  ON MOTION FOR PRELIMINARY INJUNCTION are true and correct, and the

  documents attached as Exhibit V are authentic. If called upon to testify to their

  truthfulness or authenticity, I would and could do so competently.

        I declare under penalty of perjury, under the laws of the United States, that the

  foregoing statements are true and correct to the best of my knowledge.

        Executed this March 23, 2022.

                     /s/ MSGT OSI AGENT
                     MSGT OSI AGENT
                     (Original Signature retained by Counsel)




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